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                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                               717 MADISON PLACE, N.W.
                               WASHINGTON, D.C. 20439

 JARRETT B. PERLOW                                                      CLERK’S OFFICE
  CLERK OF COURT                                                         202-275-8000


                                   October 11, 2024

                             2024-1504 - CVB, Inc. v. US

                     NOTICE OF NON-COMPLIANCE
The documents (Motion to File Out of Time, Amicus Brief, Entry of Appearance)
submitted by International Trade Commission Trial Lawyers Association are not in
compliance with the rules of this court. Within five business days from the date of
this notice, please submit corrected versions of these documents correcting the
following:

Amicus Brief

   •   The document does not contain a complete Certificate of Interest. Fed. Cir. R.
       47.4(b).

   •   The cover of an amicus brief must indicate whether the brief supports
       affirmance or reversal and must identify the party or parties supported or
       indicate neither party. Fed. R. App. P. 29(a)(4).

Motion to File Out of Time

   •   The filer selected an incorrect relief. When refiling a corrected motion, please
       select the following relief(s): Extend Time to File Brief. Refer to the court's
       Electronic Filing Procedures ("Motions").

   •   The document does not contain a complete Certificate of Interest. Fed. Cir. R.
       47.4(b).

   •   The motion does not contain a statement of consent/opposition for filing the
       motion. Fed. Cir. R. 27(a)(2).

   •   The extension request does not contain the required affidavit or declaration.
       Fed. Cir R. 26(b)(1) (extension within 7 days of deadline).
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  Entry of Appearance

  •   The contact information for David Hollander on the form does not match the
      information associated with the user's account. Please ensure the corrected
      appearance form contains up-to-date contact information. If that information
      differs from the information associated with the user's account, please also
      update that information through the PACER Service Center. Fed. Cir. R.
      25(a)(5).


                                        ***

If applicable, the deadline for the next or responsive submission is computed from
  the original submission date, not the submission date of the corrected version.

  When filing the corrected document, please include the word "Corrected" in the
 document title or on the cover. See Fed. Cir. R. 25(c)(4) and Fed. Cir. R. 25(i) for
                     information concerning corrected filings.

A party's failure to timely file a corrected document curing all defects identified on
this notice may result in the original document being stricken from the docket. An
appellant's failure to cure a defective filing may also result in the dismissal of the
                       appeal pursuant to Fed. R. App. P. 31(c).


                                               FOR THE COURT




                                               By: K. Heidrick, Deputy Clerk
